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 8                                    UNITED STATES DISTRICT COURT
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                                     EASTERN DISTRICT OF CALIFORNIA
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                                               FRESNO DIVISION
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      GERALD CARLIN, JOHN RAHM, PAUL
13    ROZWADOWSKI and DIANA WOLFE,                            Case No. 1:09-cv-00430-AWI (EPG)
      individually and on behalf of themselves and all
14    others similarly situated,                             ORDER GRANTING PLAINTIFFS’
                                       Plaintiffs,           REQUEST TO SEAL DOCUMENTS
15
      v.                                                     AND FILE REDACTED VERSIONS
16
      DAIRYAMERICA, INC., and CALIFORNIA
17    DAIRIES, INC.
                               Defendants
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                This matter comes before the Court on the Plaintiffs’ Request to Seal Documents and
21
      File Redacted Versions (“Request”) pursuant to Civil Local Rules 140 and 141.
22
                Upon consideration of the Request, and good cause appearing, the Request is
23
      GRANTED.
24
                Accordingly, Plaintiffs are permitted to file a redacted version of Exhibit H appended to
25
      Plaintiffs’ Motion to Compel Production of Navision Database in Native Format on the public
26
      docket,     and   Plaintiffs    will   email   the   unredacted   version   of   the   document   to
27
      ApprovedSealed@caed.uscourts.gov for filing under seal.
28
     Case 1:09-cv-00430-AWI-EPG Document 531 Filed 01/18/18 Page 2 of 2



 1           Only the parties’ counsel of record, the Court and its staff shall have access to the

 2    unredacted document.

 3
      IT IS SO ORDERED.
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 5       Dated:    January 17, 2018                         /s/
                                                     UNITED STATES MAGISTRATE JUDGE
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